 Case 19-05945       Doc 46  Filed 09/04/20 Entered 09/04/20 13:04:03         Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


IN RE:                                       )     BANKRUPTCY CASE NO. 19-05945
                                             )
TERRELL D. THOMAS                            )     CHAPTER 13
ANNETTE L. THOMAS                            )
                                             )     JUDGE: DAVID D. CLEARY
          Debtors,                           )



 WITHDRAWAL OF NOTICE OF POSTPETITON MORTGAGE FEES, EXPENSES,
                        AND CHANGES

      NOW COMES Nationstar Mortgage LLC d/b/a Mr. Cooper, by and through its Attorney
McCalla Raymer Leibert Pierce, LLC, and hereby withdraws the Notice of Post-petition
Mortgage Fees, Expenses, and Charges filed on May 29, 2019.

   1. Notice of Post-petition Mortgage Fees, Expenses, and Charges Filed Date: May 29, 2019

   2. Notice of Post-petition Mortgage Fees, Expenses, and Charges related to Claim Number:
      #6


             This 4th day of September, 2020.




                                                 /s/Kinnera Bhoopal
                                                 Attorney for Movant
                                                 ARDC #
                                                 McCalla Raymer Leibert Pierce, LLC
                                                 1 N. Dearborn Suite 1200
                                                 Chicago, IL 60602
                                                 Phone: (312) 348-9088 X5172
                                                 Email: Kinnera.Bhoopal@mccalla.com
  Case 19-05945        Doc 46     Filed 09/04/20 Entered 09/04/20 13:04:03 Desc Main
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                                                  Bankruptcy Case No.: 19-05945
In Re:                                            Chapter:             13
         Terrell D. Thomas                        Judge:               David D. Cleary
         Annette L. Thomas

                                  CERTIFICATE OF SERVICE

      I, Kinnera Bhoopal, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

         That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within WITHDRAWAL OF
NOTICE OF POSTPETITION MORTGAGE FEES, EXPENSES, AND CHARGES filed in this
bankruptcy matter on the following parties at the addresses shown, by regular United States
Mail, with proper postage affixed, unless another manner of service is expressly indicated:

Terrell D. Thomas
21206 Alessandra Dr.
Matteson, IL 60443

Annette L. Thomas
21206 Alessandra Dr.
Matteson, IL 60443

David M Siegel                                (served via ECF Notification)
David M. Siegel & Associates
790 Chaddick Drive
Wheeling, IL 60090

Marilyn O. Marshall, Trustee                  (served via ECF Notification)
224 South Michigan Ste 800
Chicago, IL 60604

Patrick S Layng                               (served via ECF Notification)
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:      9/4/2020         By:    /s/Kinnera Bhoopal
                    (date)                Kinnera Bhoopal
                                          Attorney for Nationstar Mortgage LLC d/b/a Mr.
                                          Cooper
